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                        IN THE UNITED STATES DISTRICT FOR THE
                            SOUTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION



HENRY JOINER,                                   :

       Plaintiff,                               :

vs.                                             :    CIVIL ACTION 05-0501-CG-B

CITY OF GREENSBORO, et al.,                     :

       Defendants.                              :


                                            ORDER


       After due and proper consideration of all portions of this file deemed relevant to the issue

raised, and there having been no objections filed, the Recommendation of the Magistrate Judge

made under 28 U.S.C. § 636(b)(1)(B) is ADOPTED as the opinion of this Court. It is

ORDERED that plaintiff’s complaint be and is hereby DISMISSED without prejudice for

failure to prosecute.

       DONE and ORDERED this 29th day of November, 2005.


                                     /s/ Callie V. S. Granade
                                     CHIEF UNITED STATES DISTRICT JUDGE
